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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

MICHAEL BURNHAM, FERNANDO
CASTILLO, NEVA CRAWFORD,
RICKY CRAWFORD, TED DAY JOHN
GUGLER, CHARLES HOWLET ,
EDUARDO JIMENEZ, BILL
MCMAHON, JODY PAULSON,
ROBERT ROJAS, TODD SHOOK
TONY sKIRROW DANTE sTEWARD,
sALVADOR BUC’IO sUAREz AND
DANlEL WAR_E,_on behalf of themselves
and all others s1m11arly s_1tuated, and on
behalf of all other “aggrleved” employees,

Plaintiffs',
Vs.

RUAN T_RANSPORTATION,_an leyva
Corporat10n, and DOES 1-10, mcluswe,

Defendants.

 

 

CASE NO.SACvlz - 0688 AG (ANX)

 

CLASS ACTION COMPLAINT

COMPLAINT FOR:

(1) VIOLATIGN 0F CAL. LABOR
CODE SECTION 2699

(2) UNFA];R CoMPEHTION UNDER
BUslNEss & PRGFESSIONS
CODE SECTION 17200

(3) WAITING TIME PENALT]:ES

UNDER CAL. LABOR CODE
SECTIONS 201-203

 

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Plaintiffs Michael Burnham, Fernando Castillo, Neva Crawford, Ricky
Crawford, Ted Day, John Gugler, Charles Howlett, Eduardo Jimenez, Bill
McMahon, Jody Paulson, Robert Rojas, Todd Shook, Tony Skirrow, Dante
Steward, Salvador Bucio Suarez, and Daniel Ware, on behalf of themselves and all
others similarly situated, and on behalf of all other aggrieved employees
(“Plaintiffs”), hereby file this Complaint against Defendants Ruan Transportation

. (“RUAN”) and DOES 1-10 (hereinafcer collectively referred to as “Defendants”).

P_laintiffs are informed and believe, and on that basis, allege as follows:

Plaintiffs bring this action on behalf of themselves and all aggrieved
employees against Defendants for their failure to pay Plaintiffs for performing
certain Worl<, including Worl< done before and after shifts and time spent Waiting for
clients; their failure to provide mandated timely meal periods to truck drivers; their
failure to pay truck drivers for missed and untimely meal periods; their failure to
reimburse Plaintiffs for necessary expenditures; their failure to issue accurate
itemized Wage statements to Plaintiffs; and their failure to pay Plaintiffs’ Wages due
upon termination of employment As a result, Defendants have violated California

statutory law as described beloW.

INTRODUCT-ION

l. For over 50 years, Califomia’s courts and legislature have recognized
that this State’s Wage-and-hour laws serve a compelling public interest of fostering
a stable job market Wages are not ordinary debts. Because of the economic
position of the average Worker and his or her family, it is essential to the public
Welfare that employers obey the Wage-and-hour laws so that employees are
promptly paid the minimum Wages that the Legislature has dictated as being due to
employees. So iimdamental are California’s Wage and hour laws, that the
legislature has criminalized certain employer conduct, Which violates those laws.
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2. This lawsuit arises out of an ongoing wrongful scheme by RUAN to
unlawfully deprive certain of its employees the minimum benefits required by
California’s wage-and-hour laws.

3. Plaintiffs previously worked for, continue to work for, or in the mture
will be employed by RUAN in the State of California as truck drivers. Defendants
employed Plaintiffs to deliver food products to various clients throughout
California.

4. Since at least May 2008 to the present, Plaintiffs have suffered
common financial harm as their employer RUAN has violated, and continues to
violate, (i) multiple provisions of California’s wage-and-hour laws including, but
not limited to, Labor Code §§ 203, 204, 226, 226.7, 512, and 1197, 1198; (ii) the
Unfair Competition Law (“UCL”) codified in California Business & Professions
Code §§ 17200, et seq.; and (iii) Industrial Welfare Commission Wage Order 9,
which is incorporated into the California Code of Regulations. More specifically,
RUAN failed to separately compensate Plaintiffs for all hours worked, including
pre and post-shift time and waiting for their customers, denied statutorily-mandated
compensation for missed meal and rest breaks, and also fails to provide accurate
itemized wage statements as required by California law. Accordingly, Plaintiffs
seek to recover (i) compensation for unpaid wages; (ii) compensation for missed
meal-and-rest periods; (iii) civil penalties and/or damages for failure to provide
accurate, itemized wage statements; (iv) waiting-time penalties; (v) injunctive and
other equitable relief; (vi) attomeys’ fees and costs; and (vii) penalties pursuant to
the Private Attorney General Act (“PAGA”).

RUAN ’s WRoNGFUL WoRKPLACE CoNDITIoNs
5. From at least May 2008 to the present, RUAN has maintained illegal
work policies that uniformly affect the Plaintiffs. These policies require,

encourage, and permit Plaintiffs to perform their work in violation of California

 

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labor laws under the following unlawful conditions:

a.

Work and perform duties for which they did not receive any
compensation;

Work in excess of 5 hours per day without taking a full and
uninterrupted off-duty meal break of at least one-half hour in a
timely fashion, and work in excess of 10 hours per day without
taking a second full and uninterrupted off-duty meal break of at
least one half hour; and

Not permitting Plaintiffs to take lO-minute rest breaks as

required by California law.

6. RUAN has further required Plaintiffs to:

a.

Work without being provided timely itemized statements
accurately showing the Plaintiffs’ total hours worked, as well as
meal-and-rest break premiums ;

Work without their employer maintaining accurate payroll
records showing the actual hours worked daily by Plaintiffs; and
Work without being paid full compensation owed in a prompt

and timely manner upon termination of employment y

STATUTORY DAMAGES OWED To PLA]NTIFFS AND LWDA UNDER PAGA

7. Based on the above, Plaintiffs are owed at least the following by

Defendants:

3..

Unpaid Wages: California Labor Code §§ 204 and 1197 require

RUAN to pay Plaintiffs the contract Wage (or at least minimum wage) for all wages

due. Plaintiffs were not paid for non-driving work they were required to perform

and, as such, are owed wages for this work. This unpaid work includes waiting for

a client to accept the delivery and down-time, such as the time the Plaintiffs spend

waiting for the loads to be unloaded. RUAN does not separately pay for the time

 

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Plaintiffs spend at mandatory weigh stations, or when they breakdown and need
rescue. Additionally, RUAN does not pay for so-called “delay time” nor does it
adequately compensate Plaintiffs when they show-up at the yard for their scheduled
work time but no trucks are immediately available. Moreover, RUAN does not
adequately or separately pay the Plaintiffs for all the time they spend performing
pre- and post-shift work they are required to do, such as safety inspections,
gathering the manifests, and finding their truck and trailer. This work generally
takes Plaintiffs between thirty minutes to one hour but Plaintiffs are not separately
paid for this work; rather, RUAN considers these duties as “part of the job” which
are somehow compensated by either a flat day rate or piece rate for “all hours
worked” regardless of how much time they actually spend performing these tasks.
Cardenas v. McLane Foodservice, Inc., 796 F.Supp.2d 1246 (C.D. Cal. 2011)
(granting truck drivers’ motion for summary judgment of pre and post-shift claims
where employer paid with piece rate wages for “all hours worked”). The failure to
provide all wages due constitutes a violation of PAGA and entitles Plaintiffs to
statutory penalties under Cal. Labor Code §§ 558 and 2699, et seq.

b. Lost Meal Perioa’ Pay.' California Labor Code §§ 226.7 and 512
and the applicable Wage Order require RUAN to provide Plaintiffs full and
uninterrupted off-duty meal periods. For each day Plaintiffs did not take lawful
meal periods, they are owed an additional hour of pay at their regular rate. The
failure to provide meal periods constitutes a violation of PAGA and entitles
Plaintiffs to statutory penalties under Cal. Labor Code §§ 558 and 2699 et seq.

c. Lost Resz‘ Perz'od Pay.' California Labor Code §§ 226.7 and 512
and the applicable Wage Grder require RUAN to authorize and permit Plaintiffs to
take full and uninterrupted rest periods. For each day Plaintiffs were not authorized
and permitted to take lawful rest periods, they are owed an additional hour of pay at
their regular rate. The failure to provide rest periods constitutes a violation of

PAGA and entitles Plaintiffs to statutory penalties under Cal. Labor Code §§ 558

 

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and 2699 et seq.

d. F ailure to Provia’e Accurate Itemized Wage Statements.' Since
at least May 2008, RUAN has not furnished each of the Plaintiffs with timely
itemized Wage statements accurately showing total hours worked by each such
Plaintiff, as required by Labor Code § 226, as well as meal-and-rest break
premiums. Accordingly, RUAN owes each Plaintiff $50 for the initial pay period
in which RUAN failed to provide a statement showing total hours worked (and
other required information) and $100 for each subsequent pay period, up to a total
of $4000. The failure to provide accurate, itemized wage statements constitutes a
violation of PAGA and entitles Plaintiffs to statutory penalties under Cal. Labor
Code §§ 558 and 2699, et seq.

e. Faz`lure to Rez'mburse for Necessary Expenditures: California
Labor Code § 2802 provides that “an employer shall indemnify his or her employee
for all necessary expenditures or losses incurred by the employee in direct
consequence of the discharge of his or her duties, or of his or her obedience to the
directions of the employer, even though unlawnil, unless the employee, at the time
of obeying the directions, believed them to be unlawful.” RUAN has failed to
indemnify Plaintiffs for certain expenditures required for work. Speciiically

Plaintiffs are required to purchase their own coolers to keep samples of the milk

- they deliver to RUAN’s customers These coolers cost $10-15 each The failure to

provide reimbursements to the Plaintiffs for these costs constitutes a violation of
PAGA and entitles Plaintiffs to statutory penalties under Cal. Labor Code §§ 558
and 2699, et seq.

f. Failure T 0 T imer Pay Former Employees: Since at least May
2008, RUAN has willfully failed and refused, and continues to fail and refuse, to
timely pay wages due for missed meal and rest period and work performed without
compensation to those Plaintiffs whose employment was concluded Accordingly,

these former employees are entitled to statutory penalties under Labor Code §§

 

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201-203. The failure to pay all wages due to Plaintiffs who have ended their
employment with RUAN constitutes a violation of PAGA and entitles Plaintiffs to
statutory penalties under Cal. Labor Code §§ 558 and2699, et seq.

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8. Plaintiffs worked, or currently work, for RUAN as truck drivers during
the applicable liability period and were subject to the unlawful workplace
conditions detailed above. The Plaintiffs’ job responsibilities included making
deliveries to businesses located throughout Califomia. On a daily basis throughout
their employment, Plaintiffs were not properly compensated by RUAN for all hours
worked, nor were they compensated for missed, untimely, and on-duty meal and
break periods. ln addition,' Plaintiffs were not separately paid for certain, non-
driving work they were required to perforrn. '

9. RUAN is an Iowa company with its principal place of business in
Iowa. lt is located in Des Mo}ines, Iowa. RUAN is liable for the claims asserted
herein because (l) it has purposefully directed the activities of the Plaintiffs all of
which are in Califomia, and it has purposefully availed itself of the privileges of
conducting business in California; (2) the claims in this lawsuit arise out of its
business practices in California; (3) and jurisdiction over RUAN is fair and
reasonable.

10. RUAN employed Plaintiffs at all times relevant to this lawsuit.
RUAN has distribution centers throughout Califomia. RUAN has over 160
locations nationwide, including at least twenty distribution centers in California in
the following cities: Rialto, French Camp, Madera, Los Banos, Tulare, Ripon,
Acampo, Victorville, Orland, Mira Loma, Petaluma, Los Angeles, Turlock, San
Francisco, City of lndustry, Santa Fe Springs, South Gate, Fresno, Pomona, and

Sacramento. RUAN is a transportation services company that provides delivery

 

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services for businesses throughout California and contracts With business in
Califomia.

ll. The claims in this lawsuit directly arise from RUAN’s business
practices in Califomia. But for RUAN doing business in California, employing
Plaintiffs, and contracting with businesses in California, the wage and hour
violations that Plaintiffs alleged would not have occurred.

12. Imposition of jurisdiction on RUAN is fair and reasonable since it
conducts business in California, employ Plaintiffs, and has distribution centers in
Califomia. Furthermore, all Plaintiffs are located in California and given
Califomia’s extensive legal protections for California employees, California has an
interest in adjudicating this dispute.

13. From at least four years prior to filing this complaint until the present,
Plaintiffs did not receive a duty-free, thirty-minute meal break commencing on or
before the fifth hour of work, nor did they receive any duty-free thirty-minute meal
breaks during their shifts, which often lasted 12 hours or more. Nor have Plaintiffs
received pay for certain work performed before and after their shifts.

14. Plaintiffs sue Defendants DOES 1 through 10 under fictitious names.
Their true names and capacities, whether individual, corporate, associate or
otherwise, are unknown to Plaintiffs. When Plaintiffs ascertain their true names
and capacities, they will seek permission from this Court to amend the 'Complaint to
insert the true names and capacities of each iictitiously named defendant Plaintiffs
are informed and believe that each of these fictitiously named defendants is
responsible in some manner for the occurrences alleged herein, and that these
defendants directly and proximately caused Plaintiffs’ damages.

15 . On information and belief, at all times relevant to this Complaint,
Defendants, including the fictitiously named defendants, were the servants,
employees, joint employers, integrated employers, alter egos, successors-in-interestl

subsidiaries, affiliated companies or corporations, and joint venturers of the other

 

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Defendants, and were, as such, acting within the course, scope and authority of each
other Defendant. Plaintiffs further allege on information and belief that each of the
Defendants acted in concert with, and with the consent of, each of the other
Defendants, and that each of the Defendants ratified or agreed to accept the benefit
of the conduct of each of the Defendants.7

JURISDICTION AND VENUE

16. Plaintiffs and the other unnamed aggrieved employees were employees
of RUAN within the State of California and were subject to the unlawful policies at
some point during the past four years. 7

17. This Court has jurisdiction over Plaintiffs’ claims for injunctive relief
and restitution of unpaid wages and other ill-gotten benefits arising nom RUAN’s
unlawful and/or unfair business practices under Business & Professions Code §§
17200, et seq. and penalties under PAGA, because there is complete diversity of
citizenship and damages likely exceed $75,000 for each Plaintiff.

18. Venue is proper in this judicial district, pursuant to Code of Civil
Procedure §§ 395 and 395.5 because one or more of the Defendants have not
designated a principal place of business in California. Many of the violations take
place in Orange County. Moreover, the unlawful acts alleged herein have a direct
effect on Plaintiffs and those similarly situated Within the State of California and
within Orange County.

FACTUAL BACKGROUND
19. Defendant operates, and at all times during the applicable statutory
periods, has done business in Orange County, California and elsewhere within
Califomia.
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20. The practices and policies that are complained of herein were enforced
against Plaintiffs employed by RUAN in California during the relevant liability
period.

21. Plaintiffs are covered, or were covered by, California IWC Wage
Order No.. 9.l

22. Since at_least May 2008, Plaintiffs have been required to perform
certain non-driving work before and after their shifts for which they did not receive
any compensation For example, Plaintiffs are required to perform safety
inspections and pre-shift assignments This work generally takes between thirty
minutes to one hour but Plaintiffs are only paid a piece rate (for performing other
tasks such as dropping off cases, making stops, or traveling miles) regardless of
how much time they spend performing these tasks. Additionally, Plaintiffs are not
paid for the time they spend waiting for clients to arrive and accept the delivery of
goods, and then unload the trucks. RUAN has 'a policy of refusing to pay Plaintiffs
for all of the time they spend waiting for clients and waiting for the trucks to be
unloaded. RUAN has known these facts and has required Plaintiffs to perform this
work without compensation

23. Since at least May 2008, Plaintiffs have regularly Worked in excess of
5 hours a day without being afforded full and uninterrupted off-duty meal periods
of at least a one-half hour in which they were relieved of all duties. They have also
regularly worked at least 10 hours a day without receiving a second hill and
uninterrupted off-duty meal period of at least one-half hour in which they were
relieved of all duties. RUAN has known these facts and permitted, encouraged, or
required Plaintiffs to forego these meal periods without compensating them for the
missed meal periods. Plaintiffs do not fall within any exemption to the meal and

rest period requirements of the Labor Code and the Wage Order.

 

§ By virtue of RUAN’s employment of drivers operatin(g within California, RUAN
is and was at all relevant times subject to IWC Wage Gr er No. 9.

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24. Since at least May 2008, RUAN has also failed to indemnify Plaintiffs
for certain expenditures required for work. Plaintiffs are required to purchase their '
own coolers to keep samples of the milk they deliver to RUAN’s customers. These
coolers cost 310-15 each. Labor Code § 2802 provides that “an employer shall
indemnify his or her employee for all necessary expenditures or losses incurred by
the employee in direct consequence of the discharge of his or her duties, or of his or
her obedience to the directions of the employer, even though unlawful, unless the
employee, at the time of obeying the directions, believed them to be unlawful.”
RUAN is liable for the costs of these expenditures plus interest, and attorneys’ fees.

25. Since at least May 2008, Plaintiffs have regularly worked over a four-
hour period (or major fraction thereof) without RUAN authorizing and permitting
them to take a paid 10-minute rest period. RUAN has known these facts and
suffered, permitted, encouraged, or required Plaintiffs to forego'these rest periods.
Plaintiffs do not fall within any exemption to the rest period requirements of the
Labor Code and the Wage Order.

26. Since May 2008, RUAN has failed to furnish each Plaintiff with
timely itemized wage statements accurately showing total hours worked, meal-and-
rest break premiums and other information required to be disclosed by California
law.

27. Since at least May 2008, RUAN has failed to keep payroll records
showing the actual hours worked daily by the Plaintiff`s.

28. Since at least May 2008, RUAN has violated the UCL by the
violations of California law as described above. `

29. Since at least May 2008, RUAN has violated the PAGA by the
violations of California Labor Code as described above.

30. As a direct result of RUAN’s unlawful conduct, Plaintiffs have been
deprived of wages, payment for missed meal and rest breaks, and other legal

protections to which they are entitled under California’s wage-and-hour laws.

 

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31. At all relevant times, RUAN was, and is, legally responsible for all of
the unlawful conduct, policies, practices, acts and omissions as described in each
and all of the foregoing paragraphs as the employer of Plaintiffs Further, RUAN is
responsible for each of the unlawful acts or omissions complained of herein under
the doctrine of “respondeat superior.” The conduct of RUAN’s managers and
supervisors was at all relevant times undertaken as employees of RUAN, acting
within the scope of their employment or authority in all of the unlawful activities

described in each and all of the foregoing paragraphs

RULE 23 CLASS ACTION ALLEGATIONS

32. As a result of RUAN’s misconduct, Plaintiffs seek monetary damages,
restitution and civil penalties Plaintiffs bring this action on behalf of themselves
and all others similarly situated as a class action or arbitration pursuant to F ederal
Rules of Civil Procedure Rule 23. The Class that Plaintiff seeks to represent is
composed of and defined as follows:

All current and former California-based Truck
Drivers employed by RUAN from May 2008 until
the trial of this matter.

33. Throughout discovery in this litigation, Plaintiffs may find it
appropriate and/or necessary to amend the definition of the Class and Subclasses.
ln any event, Plaintiffs will formally define and designate a class definition at such
time when Plaintiffs seek to certify the Class and Subclasses.

34. This action has been brought and may properly be maintained as a
class action under F ederal Rules of Civil Procedure Rule 23 because there is a well-
defined community of interest in the litigation and the proposed class is easily
ascertainable:

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a. Numerosz`ly: The potential members of the Class as defined are
so numerous that joinder of all the members of the Class is impracticable While
the precise number of Class Members has not been determined at this time,
Plaintiffs are informed and believes that RUAN has employed at least 100 people as
Truck Drivers in California during the Class Period.

b. Commonality: There are questions of law and fact common to
the Plaintiffs and the Class that predominate over any questions affecting only
individual members of the Class These common questions of law and fact include
without limitation:

i. Whether RUAN violated Business and Professions Code
Section 17200 by failing to pay adequate compensation to its Truck Drivers for all
the hours they worked.

ii. Whether RUAN violated Wage Order No. 9-2001 and
Labor Code Sections 226.7 and 512 by failing to afford (or discouraging) Truck
Drivers proper meal and rest periods

111 whether RUAN violated wage order Ne. 9-2001'end
Labor Code Sections 226 and 1174 by failing to keep accurate records of
employees’ hours of work, the beginning and end of each work period, meal
periods, gross wages eamed, and net Wages earned.

iv. Whether RUAN violated Labor Code Section 1174 by
failing to keep accurate records of employees’ hours of work.

v. Whether RUAN violated Labor Code Section 226 by
failing to timely furnish each Truck Driver with a statement accurately showing the
total hours the Truck Driver worked each pay period.

vi. Whether RUAN violated Business and Professions Code
Section 17200 by failing to timely furnish each Truck Driver with a statement
accurately showing the total hours the Truck Drivers worked each pay period.

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vii. Whether RUAN violated Labor Code § 201-203 by
failing to pay all wages due and owing at the time that Plaintiffs’ and other Class
Members’ employment with RUAN was terminated

viii. Whether RUAN violated Business and Professions Code
Section 17200 by failing to pay all wages due and owing at the time that Plaintiffs’
and other Class Members’ employment was terminated with RUAN.

‘ix. Whether RUAN violated Labor Code Section 226 by
failing to timely furnish Plaintiffs and each Class Member with a statement
accurately showing the total hours worked each pay period, the net wages earned,
and gross wages earned.

x. Whether RUAN violated Business and Professions Code
Section 17200 by failing to timely furnish Plaintiffs and each Class Member with a
statement accurately showing the total hours worked each pay period, the net
wages earned, and gross wages eamed.

xi. What were the policies, practices, programs, procedures
protocols, and plans of RUAN regarding payment of all wages for all hours
worked by Truck Drivers.

xii. What proof of hours is sufficient where RUAN
intentionally failed to maintain time records

c. Typicalily: Plaintiffs’ claims are typical of the claims of the
Class Plaintiffs and all members of the Class sustained injuries and damages
arising out of and caused by RUAN’s common course of conduct in violation of
law as alleged herein.

d. Adequacy OfRepresentation: Plaintiffs are Class Members and
will fairly and adequately represent and protect the interests of the Class Members.
Counsel who represent the Plaintiffs are competent and experienced in litigating
large wage-and-hour class actions
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e. Superz'orz'ly Of Class Actz`on: A class action is superior to other
available means for the fair and efficient adjudication of this controversy.
lndividual joinder of all Class Members is not practicable,, and questions of law and
fact common to the Class predominate over any questions affecting only individual
members of the Class Each Class Member has been damaged and is entitled to
recovery by reason of RUAN’s illegal policies and practices Even if every
individual Class Member could afford individual litigation, the court system could
not. lt would be unduly burdensome to the court in which the individual litigation
of the numerous cases would proceed. Individualized litigation would magnify the
delay and expense to all parties and to the court system resulting Hom multiple
trials of the same complex factual issues ln addition, if each individual Class
Member was required to file an individual lawsuit, the large corporate Defendants
would necessarily gain an unconscionable advantage because Defendants would be
able to exploit and overwhelm the limited resources of each individual Class
Member with Defendants’ vastly superior financial and legal resources By
contrast, the conduct of this action as a class action presents few management
difficulties conserves the resources of the parties and of the court system, and
protects the rights of each Class Member. Plaintiff anticipates no difficulty in the
management of this action as a class action since the unlawful conduct at issue is _
the same with respect to all Class Members

35. The prosecution of separate actions by individual Class Members may
create a risk of adjudications with respect to them that would, as a practical matter,
be dispositive of the interests of other Class Members not parties to such
adjudication or that would substantially impair or impede the ability of such non-
party Class Members to protect their interests

36. The prosecution of individual actions by Class Members could
establish inconsistent standards of conduct for RUAN.

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37. RUAN has acted, or refused to act, in respects generally applicable to
the Class as a whole, thereby making appropriate final and injunctive relief or
corresponding declaratory relief with regard to members of the class as a whole, as
requested herein. Likewise, RUAN’s conduct as described above is unlawful,
continuing, and capable of repetition and Will continue unless restrained and
enjoined by the Court.

FIRST CAUSE OF ACTION
(Violation of the Private Attorney General Act
(Cal. Labor Code §§ 2699, et seq.))

38. Plaintiffs repeat and reallege each and every allegation set forth in all
of the foregoing paragraphs as if fully set forth herein.

39. The Private Attorney General Act (“PAGA”), Cal. Labor Code § 2699,
et seq., allows an aggrieved _ employee to bring suit against an employer for
violations of most Labor Code provisions These Labor Code violations include the
requirements to provide accurate itemized wage statements and keep payroll
records pursuant to Labor Code §§ 226, 226.3, 1174, 1174.5; to provide adequate
meal and rest periods pursuant to Labor Code §§ 226.7, 512; to pay all wages due
pursuant to Labor Code §§ 204, 1197, and 1198; and waiting time penalties for
failure to pay all waged due under Labor Code § 201.

40. RUAN’s acts constitute continuing and ongoing unlawful activity
prohibited by the California Labor Code and therefore, these acts constitute
violations of the PAGA. `

41. Plaintiffs have provided notice of these violations pursuant to Cal.
Labor Code § 2699.3 and have specifically asked the California Labor &
Workforce Development Agency if it intends to investigate the alleged violations
A true and correct copy of this letter is attached as Exhibit 1 to this Complaint.
Shortly after sending this letter, Plaintiffs’ Counsel received notification from the

California Labor & Workforce Development Agency that it does not intend to

 

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investigate the alleged violations and therefore the Plaintiffs are entitled to
prosecute their Private Attorney General Act (“PAGA”) claims under Cal. Labor
Code § 2699, et seq. A true and correct copy of this letter is attached as Exhibit 2
to this Complaint.

42. RUAN’s conduct of requiring Plaintiffs to work without providing
accurate itemized wages statements and payroll records, failing to pay for all hours
worked, including non-driving time, and without providing adequate meal and rest
periods directly violates state law, constitutes violations of the PAGA.

43. Therefore, under the provisions of PAGA and Labor Code §§ 201-203,
204, 226, 226.7, 512, 1174, 1174.5, 1194,1197, 1198, and 2699, RUAN is liable for
the following penalties and damages:

44. F or its failure to provide uninterrupted off-duty meal and rest periods,
RUAN is liable to all Plaintiffs for one hour of additional pay at the regular rate of '
compensation for each workday that the full and uninterrupted, off-duty rest and
meal period were not provided RUAN is also liable for civil penalties pursuant to
Labor Code §§ 558 and 2699 as follows: for any initial Violation, $50.00 for each
Plaintiff for each pay period during which the Plaintiff was not provided proper
meal and rest breaks; and for each subsequent violation, 8100.00 for each Plaintiff
for each pay period during which the Plaintiff was not provided proper meal and
rest breaks

45. F or RUAN’s failure to pay wages due, Plaintiffs are entitled to recover
such amounts, plus interest thereon, attorney’s fees and costs RUAN is also liable
for civil penalties pursuant to Labor Code §§ 558 and 2699 as follows: for any
initial violation, $50.00 for each Plaintiff for each pay period during which the
Plaintiff was not provided proper meal and rest breaks; and for each subsequent
violation, 8100.00 for each Plaintiff for each pay period during which the Plaintiff
was not provided proper meal and rest breaks
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46. For RUAN’s failure to furnish accurate wage statements, Plaintiffs are
entitled to recover the greater of all actual damages or $50.00 for the initial
violation and 8100.00 for each subsequent violation, up to $4,000.00. RUAN is
additionally liable for civil penalties pursuant to Labor Code §§ 226.3 and 2699 in
the amount of $250.00 for each Plaintiff per initial violation and $l,000.00 for each
Plaintiff per subsequent violation. l

47 . For RUAN’s failure to keep accurate payroll records, RUAN is liable
for civil penalties pursuant to California Labor Code §§ 1174.5 and 2699 in the
amount Of $500.00 per violation,

48. AThe proper measure of damages and penalties under the PAGA is all
aggrieved employees, whether a party of this action or not. Further, this claim
needs no certification to proceed with class-wide recovery. Arias v. Superior
Court, 46 Cal.4th 969, 970-75 (2009).

49. Accordingly, Plaintiffs and all aggrieved employees respectfully

request that the Court award judgment and relief in their favor as described herein.

SECOND CAUSE OF ACTION
(Violation Of Business & Professions Code § 17200)

5 0. Plaintiffs repeat and reallege each and every allegation contained in the
foregoing paragraphs as if fully set forth herein.

51. RUAN’s acts constitute a continuing and ongoing unlawful activity
prohibited by the UCL and justifies the issuance of an injunction, restitution, and
other equitable relief pursuant to Business & Professions Code § 17203.

52. Labor Code § 90.5(a) articulates the public policy of this State to
vigorously enforce minimum labor standards, including the requirements to provide
accurate itemized wage statements and keep payroll records pursuant to Labor Code
§§ 226, 226.3, 1174, and 1174.5; and to provide adequate meal and rest periods
pursuant to Labor Code §§ 226.7 and 512. RUAN’s conduct of requiring Plaintiffs

 

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to work without providing accurate itemized wages statements failing to pay for all
hours Worked, including non-driving time, and without providing adequate meal
and rest periods directly violates state law, constitutes and was intended to
constitute unfair competition and unlawful and unfair acts and practices within the
meaning of the UCL.

53. Through the wrongful and unlawful acts RUAN has acted contrary to
the public policy of this State.

54. RUAN is engaging in unlawful business acts and practices by violating
California law including, but not limited to, Labor Code §§ 201-203, 204, 226,
226.7, 512, 1174, 1174.5, 1197 and 2699 (PAGA) as well as the applicable Wage
Order. t

5 5. As a result of their unlawful, unfair, and/or fraudulent-acts RUAN has
reaped and continues to reap unfair benefits and illegal profits at the expense of
Plaintiffs Therefore, under the provisions of the UCL and Labor Code §§ 201-203,
204, 226, 226.7, 512, 1174, 1174.5, 1197, the applicable Wage Order and PAGA,
RUAN should be enjoined from this activity and should provide restitution to
Plaintiffs the wrongfully withheld wages and other benefits pursuant to Business &
Professions Code § 17203, in a sum according t-o proof for the four-year period
preceding the filing of this Complaint up to and including the present.

5 6. Accordingly, Plaintiffs respectnilly request that the Court award

judgment and relief in their favor as described herein.

THIRD CAUSE OF ACTION
(Waiting-Time Penalties)
57. Plaintiffs repeat and reallege each and every allegation made in the
foregoing paragraphs as if nilly set forth herein.
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5 8. California Labor Code § 201 requires an employer who discharges an
employee to pay compensation due and owing to said employee immediately upon
discharge. Labor Code § 203 provides that if an employer willfully fails to pay
compensation promptly upon discharge or resignation, as required under §§ -201
and 202, then the employer is liable for waiting time penalties in the form of
continued compensation for up to 30 work days

59. RUAN willfully failed and refused, and continues to willfully fail and
refise, to timely pay compensation and wages to the Plaintiffs whose employment
terminated, as required by Labor Code §§ 201-202. As a result, RUAN is liable to
those employees who are no longer employed by RUAN for waiting time penalties
together with interest thereon and attomeys’ fees and costs under California Labor
Code § 203.7.

60. Accordingly, Plaintiffs and employees who are no longer employed by
RUAN respectfully request that the Court award judgment and relief in their favor

as described herein.

PRAYER FoR RELIEF
WHEREFORE, Plaintiffs request the following relief:
1. Class Certification appointing the proposed Class Representatives and

Class Counsel under Rule 23 or other similar provision;

2. That the Court find that RUAN has violated the record-keeping
provisions of Labor Code §§ 226 and 1174(d) as to Plaintiffs;

3. That the Court find that RUAN has violated California Labor Code §§
226.7 and 512, and Wage Order No. 9-2001 by failing to afford Plaintiffs full and
uninterrupted off-duty meal and rest periods or compensation in lieu thereof;

4. That the Court find RUAN violated California Labor Code §§ 204,
1197, 1198 by failing to compensate Plaintiffs for all the work they performed for
RUAN;

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5. That the Court find that RUAN has violated California Labor Code
§ 226 by failing to timely furnish Plaintiffs itemized statements accurately showing
the total hours worked by each of them;

6. That the Court find that RUAN has violated Labor Code §§ 201, 202,
and 203 for willful failure to pay all compensation owed at the time of termination
of employment to Plaintiffs;

7. That the Court find that RUAN has violated Business & Professions
Code § 17200 by failing to keep proper time records by failing to afford Plaintiffs
full and uninterrupted off-duty meal and rest periods and by failing to timely
furnish Plaintiffs with statements accurately showing total hours worked;

8. That the Court find that RUAN has violated the Private Attorney
General Act, Cal. Labor Code § 2699, et seq. for all aggrieved employees by failing
to keep proper time records by failing to afford Plaintiffs full and uninterrupted
off-duty meal and rest periods by failing to pay Plaintiffs all wages due, and by
failing to timely nirnish Plaintiffs with statements accurately showing total hours
worked; 7

9. T hat the Court find that RUAN’s violations as described have been
willful;

10. That the Court award to Plaintiffs and all aggrieved employees
damages and restitution for all waged earned by Plaintiffs including for missed
meal and rest periods; work performed without compensation; and damages for
failure to timely furnish statements accurately showing total hours worked and
penalties subject to proof at trial;

11. That the Court impose penalties against RUAN on behalf of all
aggrieved employees according to the Private Attorney General Act;

12. That RUAN be ordered and enjoined to pay restitution to Plaintiffs due
to RUAN’s unlawful and/or unfair activities pursuant to Business & Professions
Code §§ 17200-17205;

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13. That RUAN further be enjoined to cease and desist nom unlawful
and/or unfair activities in violation of Business & Professions Code § 17200,
pursuant to Section 17203;

14. That Plaintiffs be awarded reasonable attorneys’ fees and costs
pursuant to Labor Code § 2699, Civil Procedure Code § 1021.5, and/or other
applicable law; and

15 . That the Court award such other and further relief as this Court may

deem appropriate.

Dated: April 30, 2012 DESAI LAw F

   

By:
Aashish Y.
Attomeys

Plaintiffs demand trial by jury on all issues so triable.
Dated: April 30, 2012 DESAI LAW F , P.C.

By: _ ,
Aashish Y. esai "
Attorneys or Plaintiffs

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EXH|B|T
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' MOWER, CARREON 8 DESAI, LLP

AASH|SH Y. DESA| 8001 lR\/|NE CENTER DRl\/E, SU|TE 1450 (949) 474-3004
EMAIL: desai@mocel@v/.Com tR\/|NE, CA 926‘]8 FAX: (949) 474-900‘]
M. ADRIANNE DE CASTRO w\M/v.mocalaw.com

EMAIL decastro@moca|aw.com

Deceinber 8, 2011

California Labor and Workforce
Development Agency

801 K Street, Suite 2101

Sacrarnento, CA 95814

Re: PAGA Notice Pursuant to California Labor Code § 2699
Bumham, et al. v. Ruan Transportation~

Dear Sir/Madam:

This office represents a group of truck drivers who work or worked for Ruan
Transportation. ’l` his letter is notice, and a request, pursuant to California Labor Code § 2699.3
that your agency investigate the claims in this impending civil action. 1f the agency does not
intend to investigate the alleged violations we specifically request notiHcation so that we can file
our civil action to include our PAGA claims

This action is brought on behalf of tiuck drivers -1\/liehae1l Burnham,'Femando Castillo,
Neva Crawford, Ricky Crawford, Ted Day, lolm Gugler, Charles Howlett, Bill McMahon,
Robert Rojas, Todd Shook, and Daniel Ware, and other aggrieved employees to recover ~
unlawfully withheld wages for meal and rest break violations payroll reporting violations
unpaid wages for non-driving time, restitution, as well as other statutory penalties and_damages
owed to the plaintiH`s employed by, or formerly employed by Ruan Transportation (hereinafter
“Ruan”). Ruan is a transportation services company providing delivery Services for businesses

throughout the nation, including Califomia. Ruan employs approximately 400 drivers in
Califomia.

Ruan has over 160 locations nationwide, including at least twenty distribution centers in
California in the following cities: Rialto, French Camp, Madera, Los Banos, Tulare, Ripon,
Acarnpo, Victorville, Orland, Mira Loma, Petaluma, Los Angeles, Turlock, San Francisco, City
of lndustry, Santa Fe Springs, South Gate, Fresno, Pomona, and Sacramento. `

Ruan pays its drivers by piece rate and an hourly formula The piece rate formula is
based on the number of miles they drive. Drivers,also receive a flat rate and hourly rate for
certain work performed l-lowever, Ruan does not pay Plaintiffs for certain work performed
before and after their driving shifts including safety inspections on their trucks lt also does not
pay for “waiting time” during their routes For example, Plaintiffs often arrive for their
scheduled shifts but no trucks are available for them to drive. Plaintiffs sometimes had to wait a
few hours to get a truck. They were not separately paid for this time Nor were they paid for the

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Califoniia Lab or and Workforce
Development Agency
Re: PAGA Notice Pursuant to California Labor Code § 2699
Buruhani, et al. v. Ruan Transportaz.‘ion
December 8, 2011
Page 2

 

' time they spent waiting for clients because they were either late or early for loading or
unloading

Moreover, while Plaintiffs are compensated based on how many miles they drive, Ruan
did not accurately compute those miles Ruan’s compensation fomiula short-changed drivers by
calculating mileage based on the distance to the city’s post office, rather than the miles actually
driven. Thus, Plaintiffs were not paid for all the miles they drove.

Ruan also failed, and continues to fail, to provide rest and meal breaks in conformance
with California law. Moreover, Ruan_ fails to reimburse Plaintiffs for certain expenses and does
not provide accurate,_ite`r`nized wage statements Ruan also fails to pay all compensation due at
the termination of employment

Unlawful Failure to Pav Wages Due

Ruan has violated California Labor Code §§ 204, 1196, and 1198. Labor Code § 203
establishes the fundamental right of employees in the State of California to be paid wages ina
timely fashion for their work. Labor Code § 1187 makes it unlawful to pay employees less than
the wage set by the IWC. Labor Code § 1198 makes it unlawful to employ persons under
conditions prohibited by the applicable lW Wage Orders Under Section 4 of IWC Wage Orders
9-2001, 9-2000, and 9-1998`, which apply to transportation establishments such as Ruan,
Plaintiffs must be paid at least a minimum wage for each hour worked Ruan has uniformly
required Plaintiffs to perform certain work without any compensation whatsoever.

For example, Plaintiffs will arrive for their scheduled shifts and there will be no truck for
them to drive. Plaintiffs can wait hours for a truck. They do not receive any separate pay for this
time. Plaintiffs also often have to wait for clients to accept the delivery and unload the trucks
Plaintiffs are riot separately paid-for this tirne. ln addition, Plaintiffs are not paid for mandatory
training and safety meeting that they are required to attend at least 4-6 times per year.

Moreover, Ruan does not adequately pay the Plaintiffs for all the time they spend
performing pre- and post-shift work they are required to do, such as safety inspections This
work generally takes Plaintiffs between thirty minutes to one hour but Plaintiffs are not
separately paid for this work.

Ruan also does not pay Plaintiffs for all the miles they diive. While Ruan’s.
compensation formula is based on miles driven, Ruan did not accurately compute those miles
Ruan would often short-change its drivers because it calculated mileage based on the distance to
a city’s post office, rather than a driver’s final destination or the miles actually driven.

Plaintiffs are entitled to recover such amounts plus interest thereon, attorneys’ fees and
costs Ruan is also liable for civil penalties pursuant to Labor Code §§ 558 and 2698 as follows:

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Califoniia Labor and Workforce

Development Agency
Re: PAGA Notice Pursuant to California Labor Code § 2699
Bumham, et al. v. Ruan Tra)'z.s'portation
Deceinber 8, 2011
Page 3

 

(l) For any initial violation, $50.00 for each Plaintiff for each pay period during which
the Plaintiff was not provided wages for all the work perfonned; ‘

(2) For- each subsequent violation, $100.00 for each Plaintiff for each pay period during
which the Plaintiff was not provided wages for all the work performed

Unlavvful Failure to Provide Un'interrupted Off-Dutv Meal and Rest Periods

Plaintiffs were regularly compelled to work in excess of hve and ten hours a day without
being afforded at least half-hour meal periods in which they were completely relieved of all
duties as required by Labor Code § 226.7, The Plaintids were also regularly permitted and
compelled to work over a four-hour period (or a major fraction tliereof) without Ruan
authorizing and permitting them to take paid ten-minute rest periods in which they were
completely relieved of all their duties as required by Labor Code § 226.7,

Ruan is liable to all Plaintiffs for one hour of additional pay at the regular rate of
compensation for each workday that the hill and uninterrupted off-duty rest and meal period
were not providedl Ruan is also liable for civil penalties pursuant to Labor Code §§ 558 and
2698 as follows: ~

(_1) For any initial'violation, $50.00 for each Plaintiff for each pay period during
which the Plaintiff was not provided proper meal and rest breaks and

(2) For each subsequent violation, $100.00 for each Plaintiff for each pay period
during which the Plaintiff was not provided proper meal and rest breaks

Unlawful Failure to Indenmifv Emplovees for Necessarv Expenditures

Ruan has also failed to indemnify Plaintiffs for certain expenditures required for work.
Specifically Plaintiffs are required to purchase their own coolers to keep samples of the milk
they deliver tc Ruan’s customers These coolers cost 810-15 each Labor Code § 2802 provides
that “an employer shall indemnify his or her employee for all necessary expenditures or losses
incurred by the employee in direct consequence of the discharge of his or her duties or of his or
her obedience to the directions of the employer, even though unlawful, unless the employee, at
the time of obeying the directions believed them to be unlawful.” Ruan is liable for the costs of
these expenditures plus interest, and attorneys’ fees

Ruan is also liable for civil penalties pursuant to 2698 as follows:

 

‘ Ruan, more specifically, is liable for two hours of additional pay per day for each Plaintiff
' since the Plaintiffs are entitled to compensation for the (l) missed meal period, and (2) missed
rest period

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California Lab or and Workforce
Development.Agency -
Re: PAGA Notice Pursuant to California Labor Code § 2699
Burnham, et al. v. Ruan Transportation
December 8, 2011
Page 4

 

(1) For any initial violation, $50.00 for Plaintiff for each pay period during which the
Plaintiff was not paid for all necessary expenditures and

(2) For each subsequent violation, 8100.00 for each Plaintiff for each pay period
during which the Plaintiff was not paid for all necessary expenditures

Failure to Furriish Accurate Wage Statements 1

Labor Code § 226(a) requires employers to furnish each employee with a statement that
accurately reflects gross wages earned, the total number of hours worked, and the net wages
earned Labor Code § 226(b) provides that if an employer fails to provide a statement itemizing,
inter alia, the total hours worked by the employee, then the employee is entitled to recover the

greater of all actual damages or $50.00 for the initial violation and $100.00 for each subsequent
violation, up to $4,000.00.

Ruan intentionally failed to fumish and continue to intentionally fail to furnish each
Plaintiff with tirnely, itemized statements that accurately reflect the gross wages earned, the total
number of hours worked and the net wages earned as required Ruan is additionally liable for
civil penalties pursuant to Labor Code §§ 226.3 and 2698 in the amount of $250.00 for each
Plaintiff per initial violation and $l,000.00 for each Plaintiff per subsequent violation

Waitiu_¢, Time Penalties

Labor Code § 201 requires an employer who discharges an employee to pay
compensation due and owing to the employee immediately upon discharge Labor Code § 202
requires an employer to promptly pay compensation due and owing within 72 hours of that
employee’s termination of employment by resignation or otherwise California Labor Code
§ 203 provides that if an employer willnllly fails to pay compensation promptly upon discharge
or resignation, then the employer is liable for waiting time penalties in the form of continued
compensation up to 30 workdays.

Ruan failed and refused, and continues to willfully fail and refuse, to timely pay
compensation and wages including unpaid overtime pay and meal and rest break period pay to
those Plaintiffs whose employment terminated as required As a result, Ruan is liable for waiting
time penalties together with interest and attorneys’ fees and costs under California Labor Code §
203.

Failure to Keep Required Pavroll Records

Ruan has violated California Labor Code §§ 226 and 1174 by willfully failing to keep
required payroll records showing the actual hours worked on a daily basis by the Plaintiffs
Ruan is liable for civil penalties pursuant to California Labor Code §§ 1174.5 and 2698 in the
amount of 8500.00 per violation,

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California Labor and Workforce
Developmeth Agency
Re: PAGA Notice Pursuant to California Labor Code § 2699
Bul'nha.m, et al. v. Ruan Tmnspoi'tation
Deceniber 8, 2011
Page 5

 

Conclusion

Ruan is in direct violation of numerous California wage and hour laws We provide
notice under the Labor Code Private Attorney’s Geiieral Act of 2004 and specifically ask for an
investigation; or if the agency does not intend to investigate the alleged violations a letter
connrming the same so that we may file a complaint against Defendant for the violations
discussed in this letter.

Should you require anything further or have additional questions please do not hesitate to
contact nie.

 

l Aashish Y. Desai
MOWER, CARREON & DESAI, LLP

cc: j Viq“(l_'ertz'j?ed Mail Rez‘urn Receipt Requested
Ruari Transportation .
3200 Ruan Center
666 Grand Ave
Des Moines lA 50309

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STA'¥'E GF CALIFORNIA
Labor & Workforce Development Agency

 

swanson £dmuncl G. Brown Jr. ' secumm Marty Morgenstern

Agr|cultural Labor Relatlons Board ~ California Unemployment lnsurance Appea|s Board
California Workforcelnvestment Board ~ Department of lndustrlal Relatlons
Economlc Strategy Panel ~ Employment Development Department ~ Employment Trafnlng Panet

January 11, 2012 CERTlFIED MAlL

l\/lower, Carreo`n & Desal, LLP
8001 lrvlne Center Drive, Sulte 1450
lrvlne, CA 92618

RE: Employer: Ruan Transportation Company
REI EmplOVe€(S)f l\/lichael Burnham, Fernando Castillo, Neva Crawford,
RE: LWDA No: Rlcky Crawforcl, Ted Day, et al.

9608

This is to inform you that the Labor and Workforce Development Agency
(LVVDA) received your notice of alleged Labor Code violations pursuant to
Labor Code Section 2699, postmarked December14, 2011, and after
review, does not intend to investigate the allegations

As a reminder to you, the provisions of Labor Code Section 2699(1) provides
that "...civll penalties recovered by aggrieved employees shall be distributed
as follows: 75 percent to the LWDA for enforcement of labor laws and
education of employers and employees about their rights and responsibilities
under this code.” Labor Code Section 2699(|) specifies “[T]he superior court
shall review and approve any penalties sought as part of a proposed
settlement agreement pursuant to this part.”

Consequently, you must advise us of the results of the lltigation, and forward
a copy of the court judgment or the court-approved settlement agreement
Please be certain to reference the above LWDA assigned Case Number in
any future correspondence

Sincerely,

447 422/ea

Doug Hoffner
Undersecretary

Cc: Ruan Transportatlon Company
- 3200 Ruan Center - 666 Grand Avenue

800 Capltol Mall, Sulte 5000 - Sacramento,Callfornia 95814 - in (916) 653-9900 ~ nix (916) 653-6913 - www.labor.ca.gov

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STA`l'E.' OF‘ CAL|FORNlA
Labor & Workforce Development Agency

common Edmund G. Brown Jr, ~ szcnmnv Marty Morqenstern

 

Agricultural Labor Relatlons Bcard - California Unempioyment insurance Appeals Board
California Workforce|nvestment Board ' Department of industrial Relations
Economic Strategy Panel * Empioyment Development Departrnent ~ Employment Trainlng Panel

Des l\/ioinesl lA 50309

800 Capltol Mall, Sulte 5000 ‘ Sacramento, California 95814 ~ m(916) 653-9900 ~ FAx(916)653-6913 - www.labor.ca.gov

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I (a) PLAINTIFFS (Check box if you are representing yourself El)
Michael Burnharn, Fernando Castillo, Neva Crawford, Ricky Crawford,
Ted Day, John Gugler, Charles Howlett, Eduardo Iimenez, Bill McMahon,
Jody Paulson, Robext Rojas, Todd Shook, Tony Skirrow, Dantc Steward,

Salvador Bucio Suarez and Daniel Ware

DEFENDANTS
RUAN TRANSPORTATION, an Iowa Corporation, and DOES 1-10, inclusive

 

(b) Attorneys (Firm Name, Address and Telephone Number. If you are representing

yourself, provide same.)

DESAI LAW FIRM, P.C. - Aashish Y. Desaj, Esq. (SBN 187394)
8001 lrvine Center Drive, Suite 1450, Irvine, CA 92618
(949) 842-8948

 

Attomeys (If Known)

 

II. BASIS OF JURISDICTION (Place an X in one box only.)

l:l 1 U.S. Government Plaintiff

El 2 U.S. Govemment Defendant 13(4 Diversity (Indicate Citizenship

EJ 3 Federal Question (U.S.

Govemment Not a Party)

of Parties in Item III)

Citizen of This State

Citizen of Another State

 

Citizen or Subject ofa`Foreign Country EJ 3

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Incorporated or Principal Placc

III. CITIZ.ENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)

PTF DEF
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of Business in this State

lncorporated and Principal Place El 5 l!{S
of Business in Another State-

Foreign Nation

136 1216

 

IV. ORIGIN (Place an X in one box only.)

li(l Origina.l l:l 2 Removed from lIl 3 Remanded from l:l 4 Reinstated or 111 5 Transfexred from another district (specify): l:l 6 Multi- l:l 7 Appcal to District
Proceeding State Court Appellate Court Reopened District Judge from
Litigation Magistrate Judge

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: dYes 111 No (Check ‘Yes’ only if demanded in complaint.)

CLASS ACTION under F.R.C.P. 23: l!{Yes lIl No

l:| MONEY DEMANDED IN COMPLAINT: $

 

VI. CAUSE (_)F AC'I_`ION (Cite the U.S. Civil Statute under which you are filing and write a brief statement ofcause. Do not cite jurisdictional statutes unless diversity.)
Violation of the Private Attorney General Act; Violation of Business & Professions Code Section 17200; Waiting-Tirne Penalties

VII. NATURE OF SUlT (Place an X in one box only.)

 

  

 

 

 

 

 

 
 

 

 

 

  

 

    
  

 

  
 

 

 

  
 
 
 
 

 
 
  

  

 

   

 

   

 

 

 

 

PERSONAL l§;i`ll`lv()rj El 710 Fair Labor Standards

l:l 410 Antitrust ij 120 111 310 Airplane PROPERTY lIl 510 Motions to Act

13 430 Banks and Banking 111 130 Miller Act g 315 AifPla“° Pfoducf lIl 370 Other Fraud Vacate Sentence 111 720 Labor/Mgmt.

El 450 Commerce/ICC lIl 140 Negotiable Instrument Liability _ El 371 Truth in Lending Habeas Coxpus Relations
Rates/etc. m 150 Recovery or '3 320 ASSa“lfr leel & m 380 other Persorral 1:1 530 Geueral 1:1 730 Labor/Mgmt.

El 460 Deportation Overpayment & Sla'“de' , Property Damage l:l 535 Death Penalty Reporting &

l:l 470 Racketeer Iniluenced Enforcement of n 330 F?d,]':fmpl°y°rs El 385 Property Da.mage El 540 Mandamus/ Disclosure Act
and corrupt Judgrrreut m 340 §;:’:;Y V_ h Other 1:1 40 Railway Labor Act
Organizations l_`_l 151 Medicare Act m 345 Marine Product g g m 4 w Civil Rights 790 Other Labor

El 480 Consumer Credit lIl 152 Recovery of Defaulted Liability 422 ` Litigation

13 490 Cable/Sat TV Student Loan (Excl. g 350 Motor Vehiélc El 791 Empl. Ret. Inc.

l:l 810 Selective Service Veterans) m 355 Motor Vehicle 111 423 Withdrawa128 Security Act _

l:l 850 Securities/Commodities/ l:l 153 Recovery of Product Liability USC 157 ROP_E RIGH_'IS
Exchange Overpayment of n 350 Other Personal ' Other Food & l:l 820 Copyn`ghls

l:l 875 Customer Challenge 12 Veteran’s Beneflts lnjm.y lIl 441 Voting Drug lIl 830 Patent
USC 3410 lIl 160 Stockholders’ Suits g 362 Personal Injury_ El 442 Employment lIl 625 Drug Related

El 890 Other Statutory Actions lIl 190 Other Contract Med Malpmctice 111 443 HousinyAcco- Seizure of

l:l 891 Agricultural Act lIl 195 Contract Product |:| 365 Personal Injury. mmodations Property 21 USC 111 861 HIA (1395fij

13 892 Economic Stabilization Liability Product Liability |:1 444 Welfare 881 l:l 862 Black Lung (923)
Act El 196 Franchise _ [1 368 Asbestos Personal lIl 445 American with lIl 630 Liquor Laws El 863 DIWC/DIWW

El 893 Environmental Matters ' __M M_ 7 g " Injury Product Disabilities - E] 640 R.R. & Truck (405(g))

'l:l 894 Energy Allocation Act l:l 210 Land Condemnation Liability Employment l:l 650 Airline Regs lJ 864 SSID Title XVI

lIl 895 Freedom of Info. Act ill 220 Foreclosure _'". _ l'.'.l 446 American with lIl 660 Oecupational

l:l 900 Appeal ofFee Determi- ij 230 Rent Lease & Ejectment Disabilities - Safety /Health QI'I_`S '
nation Uuder Equar 1:1 240 Turts tu Laud Appli¢afi°n other 1:\ 690 other 1:1 870 Tax (u § Plaintiff
Access to Justice lIl 245 Tort Product Liability m 463 Hajbeas C°Z`P“S' ‘ l:| 440 Other Civil or Defendant)

m 950 constitutionality of 1:1 290 A11 other neal Property Ah°“ Defal_n°e_ nights 1:1 871 nts-nrird Party 26
state statutes 13 465 §§i°;nlsmmlgra“°“ USC 7609

QACV 1') n£QQ Ah/A\r \
v A- vvuu nu \[LL ‘ A}
FOR OFFICE USE ONLY: Case Number:

 

AFI`ER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

 

CV-7l (05/08)

CIVIL COVER S}IEET

Page 1 of 2

Case 3:12-cl\]/l-`Idg%l§Sg-T,£(§§§l{ilsBRoIcCuTmC@ONL]?[;§,E,;W/j?lgagg §Qtl‘dfggmléage lD #:34

VIII(a). IDENTICAL CASES: Has this action been previously nled in this court and dismissed, remanded or closed? E(No l:l Yes
If`yes, list case number(s):

 

VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? E{No l:l Yes
Ifyes, list case number(s): -

 

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) El A. An`se from the same or closely related transactions, happenings, or events; or
l:l B. Call for determination of` the same or substantially related or similar questions of law and fact; or
ij C. For other reasons would entail substantial duplication of labor if heard by different judges; or
ij D. Involve the same patent, trademark or copyright, §§ one of the factors identified above in a, b or c also is present.

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
El Check here if the govemment, its agencies or employees is a named plaintiff If this box is checked, go to item (b).

 

County in dris District:* California County outside of this Distn`ct; State, if other than California; or Foreign Country

 

Orange

 

 

 

 

(b) List the County in this Dish'ict; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides
l:l Check here if the govemment, its agencies or employees is a named defendant lf this box is checked, go to item (c).

 

County in this District:* - 9 ~ California County outside of this District; State, if other than California; or Foreign Country

 

 

 

 

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(c) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

Orange Iowa

 

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, orfihiiwispo Counties
Note: In land condemnation casesl use the location of the tract of land involved 1

§
x. sIGNATURE oi= ATroRNEY (oR PRo PER): _ _/;//[ pate APH`I 30, 2012

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Notice to Counsel/Parties: The CV-7l (JS-44) Civil Cover Sheet made information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (F or more detailed instructions, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of` the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the F ederal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as

` amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S'.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability Eled under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended (42
U.S.C. (g))

 

cv-7i (05/08) . cran covER sHEET ` Pag¢ 2 utz

Case 3:12-cv-OO688-AG-AN Document 1 Filed 05/02/12 Page 35 of 36 Page lD #:35

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Andrew Guilford and the assigned
discovery Magistrate Judge is Arthur Nakazato.

The case number on all documents filed with the Court should read as follows:

sAcv12- 688 AG (ANx)

Pursuant to General Order 05~07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOT|CE TO COUNSEL

A copy of this notice must be served with the summons and complaint on a// defendants (if a removal action is
filed, a copy of this notice must be served on a// p/a/'ntiffs).

Subsequent documents must be filed at the following location:

Western Division [X] Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to tile at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOT|CE OF ASSlGNl\/|ENT TO UNITED STATES |VIAG|STRATE JUDGE FOR DlSCOVERY

Nar@a§$$lq@YV-OOSSS-AG-AN Document 1 F led 05/02/12 Page 36 of36 Page |D #:36
Aashish Y. Desai, Esq. (SBN'18739.4) `
DESAI LAW FIRM, P.C.
8001 lrvine Center Drive, Suite 1450 ¢_ ~
_ lrvine, CA 92618 "

 

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALlFORNIA

MICHAEL BURNHAM, FERNANDO CASTILLO, NEVA CRAWFORD, ASE' - R _
RICKY CRAWFORD, TED DAY,-JOHN GUGLER, cHA_RLEs HowL_ETr, C NUM.BE

EDUARDO JHV[ENEZ, BILL.MCMAHON, JODY PAULSON, ROBERT-ROJAS , SACV _ . _
I`ODD SHOOK, TONY SKIRROW, DANTE STEWARD, SALVADOR BUCIO 12 0688 AG (ANX) '

SUAREZ AND'D~A‘IXIEL WAR_E, on'behalf of themselves and all others similarly
situated, and on behalf of all other “aggrieved” employees, PLA]]{T]§F(S)

 

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4 _mm_§; MMU.` _
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SUMMONS

 

 

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_ 1 a ":~¢'V»
`DEF-ENDANT@. ` "’.,
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~TO: . DEFENDANT(S):

 

Alawsuit has been filed a inst you. 4

Within 21 days after service of this summons on you (not counting the day you received it),, you
must serve on the plaintiff an answer to the attached lifcomplaint |:l amended complaint
|:l counterclaim |:l cross-claim or a motion under Rule 12 of the Feg__l_eral Rules of Civil Procedure. The answer `
or motion must be served on the plaintiffs attorney, AaShiSh Y~ D€Sai . whose address is
Desai LaW'Firm,` P.C., BOQl_ Irvine Center Drive, Suite 1450, Irvine, CA 92618 §§ _ If`you fail to dojs¢}’
judgment'by default will be entered against you for the relief demanded in t§§~:§o:ih.pfaint.. You also must file
your answer or motion with the court. § we '°
' ' ‘ 3%:%» _
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.` {€J{§€ISIW.S. Dlstrlct Court :'; .
MAY -2 2012 pipe
Dated: _ l peggy By: 4

    
  

(Seal of the Court)

[Use 60 days if the defendant is the United States or a United States agency or is an ojz`cer or employee of the United States. Allowea’
60 days by Rule ]2(0)(3)].

 

CV-OlA (10/11 ' SUMIVIONS

